                        UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF ALABAMA

In re                                                          Case No. 16-30871-BPC
                                                               Chapter 13
LOUISE MARTIN,
      Debtor.
_______________________________________

LOUISE MARTIN,

         Plaintiff,
v.                                                              Adv. Proc. 18-03109-BPC

NATIONSTAR MORTGAGE, LCC
Dba MR. COOPER,
         Defendant.


                            AMENDED SCHEDULING ORDER
   The above-referenced proceeding came on for a status hearing on October 29, 2019. In
accordance with the ruling from the bench in open court, it is hereby ORDERED that the
Scheduling Order (Doc. 11) is AMENDED as follows:

1. Prior Deadlines. All deadlines set forth in the prior Scheduling Order (Doc. 11) shall
    remain
in place except as forth herein.

2. Pretrial Disclosures and Objections. The parties shall file and serve Pretrial Disclosures in
accordance with Rule 7026(a)(3) on or before January 7, 2020. Any objections to the Pretrial
Disclosures and/or motions in limine shall be filed and served pursuant to Rule 7026(a)(3)(B) by
January 14, 2020. Objections not timely made and served, other than objections under Rules
402 and 403 of the Federal Rules of Evidence, are waived unless excused by the Bankruptcy
Court for good cause.

3. Pretrial Statement. The parties are ordered to convene to attempt to resolve any evidentiary
objections, to attempt to stipulate to as many facts and issues as possible, and to prepare the
pretrial statement. The undersigned intends that this will be a substantive, good faith effort to
resolve issues. The parties shall prepare and file a pretrial statement not later than January 21,
2020. The pretrial statement shall be signed by counsel for all parties, as well as by any
unrepresented parties, and shall specify:
        a. Stipulated facts;
        b. Stipulated exhibits;



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         c. Conclusions of law that are not disputed; and
         d. Separately for each party:
                i. A succinct statement of that party’s contentions;
               ii. A list of exhibits that will be offered by the party but that cannot be
                   introduced by stipulation (with the party’s succinct response(s) to the
                   evidentiary objection(s) raised by any opposing party);
              iii. Proposed findings of fact that are not stipulated; and
              iv. Proposed conclusions of disputed issues of law.

4.   Pretrial Conference. A pretrial conference will be held on January 28, 2020 at 10:10
   AM.
The hearing will take place at the United States Bankruptcy Court, United States Courthouse
Annex, One Church Street, Courtroom No. 4-C, Montgomery, Alabama. It is recommended
that clients with settlement authority attend the pretrial conference.

5. Trial Date. Trial is scheduled for February 3, 2020 at 9:30 AM. Trial will take place at the
United States Bankruptcy Court, United States Courthouse Annex, One Church Street,
Courtroom No. 4-C, Montgomery, Alabama.

6. Other. Failure of the parties to comply with the timeframes and requirements set forth
above may result in the barring of introduction of evidence at trial. The deadlines set out
herein cannot be changed unless so directed by the Bankruptcy Court. Parties should not wait
for deadlines to expire before seeking an amended scheduling order. If any questions should
arise or another status conference is necessary prior to the final pretrial conference, the parties
are to notify chambers as soon as possible.

Done this 30th day of October, 2019.




                                                                Bess M. Parrish Creswell
                                                                United States Bankruptcy Judge

c:       Debtor/Plaintiff
         Paul D. Esco, Attorney for Plaintiff
         Amanda Beckett, Attorney for Defendant




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